                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                    Central Division


LISA LEEK,                                    )
                                              )
                                              )
v.                                            )      Case No.: 2:21-cv-04144-MDH
                                              )
UNITED STATES OF AMERICA,                     )
                                              )

                            JOINT STATUS REPORT ON DISCOVERY

       Per the scheduling order, the parties are to provide a joint status report on discovery. The
parties have already executed a Settlement Agreement and Plaintiff is awaiting payment. The
Plaintiff intends to dismiss this matter upon receipt of the payment; therefore, discovery is moot.

        By:                   /s/ Michelle M. Funkenbusch
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